 8:06-cr-00164-JFB-FG3             Doc # 65   Filed: 02/16/07   Page 1 of 1 - Page ID # 226




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )     8:06CR164
                                              )
                      Plaintiff,              )
                                              )
                      vs.                     )   ORDER FOR DISMISSAL
                                              )
BARBARA VICKERS,                              )
                                              )
                      Defendant.              )

                                     ORDER FOR DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court

endorsed hereon, the United States Attorney for the District of Nebraska hereby dismisses without

prejudice with regard to Defendant, BARBARA VICKERS, in the Indictment in 8:06CR164.

       DATED this 16th day of February, 2007.

                                              BY THE COURT:


                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              UNITED STATES DISTRICT COURT
